     Case 2:21-cv-00782-DJC-AC            Document 31     Filed 02/24/25   Page 1 of 2


 1

 2

 3

 4

 5

 6

 7

 8                                     UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    ADAM RANDOLPH POWELL,                             No. 2:21-cv-0782 DJC AC P
12                        Plaintiff,
13           v.                                         ORDER
14    J. LYNCH, et al.,
15                        Defendants.
16

17         Plaintiff, a state prisoner proceeding without an attorney, filed this civil rights

18   action seeking relief under 42 U.S.C. § 1983. The matter was referred to a United

19   States Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.

20         On December 9, 2024, the Magistrate Judge filed findings and

21   recommendations herein which were served on all parties and which contained notice

22   to all parties that any objections to the findings and recommendations were to be filed

23   within twenty-one days. ECF No. 22. Neither party filed objections to the findings and

24   recommendations.

25         The Court has reviewed the file and finds the findings and recommendations to

26   be supported by the record and by the Magistrate Judge’s analysis. Accordingly, IT IS

27   HEREBY ORDERED that:

28         1. The findings and recommendations (ECF No. 22) are adopted in full;
                                                     1
     Case 2:21-cv-00782-DJC-AC      Document 31      Filed 02/24/25   Page 2 of 2


 1          2. For the reasons set forth in the October 28, 2024 Screening Order (ECF No.

 2   20 at 3-4), defendants Peterson, Leckie, Hayne, Pierce (male), and Pierce (female) are

 3   dismissed without prejudice;

 4          3. The Clerk of Court is directed to terminate defendants Peterson, Leckie,

 5   Hayne, Pierce (male), and Pierce (female) on the docket; and

 6          4. This matter is referred back to the assigned Magistrate Judge for all further

 7   pretrial proceedings.

 8
            IT IS SO ORDERED.
 9

10   Dated:         February 21, 2025
                                                  Hon. Daniel J. Calabretta
11                                                UNITED STATES DISTRICT JUDGE
12

13

14   Powe0782.801

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                                 2
